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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

   AMAZON.COM, INC. and AMAZON DATA
   SERVICES, INC.,
                 Plaintiffs,
          v.
                                                              CASE NO. 1:20-CV-484-LO-TCB
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS, et al.,
                 Defendants.

   800 HOYT LLC,
                 Intervening Interpleader Plaintiff /
                 Intervening Interpleader Counter-
                 Defendant,
          v.
   BRIAN WATSON, WDC HOLDINGS, LLC, and BW
   HOLDINGS, LLC,
                 Interpleader Defendants,
          and
   AMAZON.COM, INC., and AMAZON DATA
   SERVICES, INC.,
                 Interpleader Defendants / Interpleader
                 Counter-Plaintiffs.

    NOTICE OF HEARING REGARDING BRIAN WATSON’S MOTION TO REMOVE
                 “ATTORNEY’S EYES ONLY” DESIGNATIONS

         PLEASE TAKE NOTICE that on Friday, August 19, 2022, at 10:00 a.m., or as soon

  thereafter as the matter may be heard, counsel for Brian Watson will present argument before this

  Court on the Motion to Remove “Attorney’s Eyes Only” Designation.




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  Dated: August 12, 2022                   Respectfully submitted,

                                           /s/ Jeffrey R. Hamlin            .
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